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                           UNITED STATES DISTRICT COURT
                        F0R THE DISTRICT OF MASSACHUSETTS

__________________________________________
JOHN F. HUGHES,                            )
                                           )
      Plaintiff,                           )
                                           )                  Civil Action No. 1:23-cv-10361-AK
v.                                         )
                                           )
BAYSTATE FINANCIAL SERVICES, LLC,          )
IAFF FINANCIAL CORPORATION,                )
KURT M. BECKER, DAVID C. PORTER,           )
                                           )
      Defendants                           )
__________________________________________)

                    DEFENDANT IAFF FINANCIAL CORPORATION’S
                              MOTION TO DISMISS

       Pursuant to Fed. R. Civ. P. 12(b)(6), defendant IAFF Financial Corporation (“IAFF-FC”)

moves for an order dismissing the claims against it in this lawsuit.

       As more fully set forth in the accompanying Memorandum of Law, Plaintiff’s claims

against IAFF-FC both fail as a matter of law because there is no allegation – nor can there be –

that IAFF-FC took any action that could conceivably be considered a violation of law. Rather, at

most, Plaintiff alleges that he had “concerns” that certain actions that were purportedly the

subject of internal discussion might, if taken, violate some unidentified legal, regulatory, ethical,

and/or professional obligation. To be clear, the IAFF-FC disputes that it or any of its employees

contemplated unlawful or improper conduct at any point in time, and Plaintiff does not allege

that IAFF-FC in fact did anything unlawful at any point in time. For these reasons and as more

fully set forth in the accompanying Memorandum of Law, the Court should dismiss the claims

against IAFF-FC under Fed. R. Civ. P. 12(b)(6) because neither cause of action states a legally

cognizable claim.

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                             REQUEST FOR ORAL ARGUMENT

       The IAFF-FC requests oral argument on this Motion on the ground that such argument

may assist the Court in resolving this Motion.

                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       Undersigned counsel certifies that he has conferred with counsel for the Plaintiff in a

good faith effort to resolve or narrow the issues raised in this Motion.

                                              Respectfully submitted,

                                              _/s/ William Kettlewell_____________________
                                              William H. Kettlewell (BBO # 270320)
                                              Sara E. Silva (BBO # 645293)
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                                              Counsel for Defendant IAFF Financial Corporation

Dated: May 15, 2023



                                 CERTIFICATE OF SERVICE
        I certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants identified on the Notice of Electronic Filing.


                                              _/s/ William Kettlewell__________________
                                              William H. Kettlewell (BBO # 270320)




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